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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.          CV 16-06599 SJO (FFMx)                                       Date   November 28, 2016
 Title             Guillermo Robles v. Dominos Pizza LLC




 Present: The                    S. JAMES OTERO
 Honorable
            Victor Paul Cruz                               Carol Zurborg
                 Deputy Clerk                             Court Reporter                      Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                        Caitlin J. Scott                                     Alison Kleaver
 Proceedings:                 SCHEDULING CONFERENCE

Matter called.

Court and counsel confer regarding Plaintiff’s claim that defendant Dominos has failed
to construct a website that's fully accessible to the seeing impaired.

Matter is placed on second call.

Matter recalled.

Plaintiff’s counsel explains the process of compliance which meets the standards imposed
by ADA.

The Court sets the following schedule:

Jury Trial:                         Tuesday, August 29, 2017 @ 9:00 a.m.

Pretrial Conference:                Monday, August 21, 2017 @ 9:00 a.m.

Motion Cutoff:                      Monday, June 26, 2017 @ 10:00 a.m.

Discovery Cutoff:                   Monday, May 29, 2017

Last Date to Amend:                 Wednesday, December 28, 2016.

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Settlement is referred to the Alternative Dispute Resolution Program for all further
proceedings.

All discovery disputes are to be brought before the Magistrate Judge assigned to the case.
The parties are reminded of their obligations under Fed. R. Civ. P. 26-1(a) to disclose
information without a discovery request.
       Court advises counsel that all Pretrial documents must be filed in compliance with
the Court's standing order, including but not limited to:
1.     All Jury Instructions, agreed and opposed;
2.     Verdict Forms;
3.     Proposed Voir Dire Questions;
4.     Agreed-To Statement of Case;
5.     Witness List, listing each witness and time estimates to conduct direct, cross,
redirect and recross;
6.     Trial Brief and Memorandum of Contentions;
7.     Joint Rule 26(f) Report;
8.     If Court Trial, file Findings of Fact and Conclusions of Law and summaries of
direct testimony at Pretrial Conference;
9.     Motions in Limine are to be filed according to Local Rule 7 and will be heard at
9:00 a.m. the first day of trial;
10. Exhibits properly labeled, tagged, and in binders.



cc:      ADR Coordinator




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                                                         Initials of Preparer          vpc




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